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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

UNITED STATES OF AMERICA,      )               CR 11-62-M-DWM
                               )
               Plaintiff,      )
                               )
     vs.                       )               ORDER
                               )
TREY RAY SCALES,               )
                               )
               Defendant.      )
______________________________ )

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on March 21, 2012. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

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422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Trey Ray Scales’ guilty plea

after Scales appeared before him pursuant to Federal Rule of Criminal Procedure

11, and entered his plea of guilty to one count of conspiracy to manufacture

marijuana in violation of 21 U.S.C. § 841(a)(1) and 846 as set forth in Count I of

the Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Count II of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (dkt #

105), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Trey Ray Scales’ motion to

change plea (dkt #75) is GRANTED.

      DATED this 18th day of April, 2012.




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